                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             BRYSON CITY DIVISION

UNITED STATES OF AMERICA,                          )
                     Plaintiff,                    )
vs.                                                )      CASE NO. 2:99CR122-12-T
                                                   )      (Financial Litigation Unit)
FELICIA ANN WATTY,                                 )
                              Defendant.           )
and                                                )
                                                   )
EASTERN BAND OF CHEROKEE INDIANS,                  )
                     Garnishee.                    )

                       DISMISSAL OF ORDER OF GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Order of Garnishment filed in this case on July 26, 2004, against the

defendant Felicia Ann Watty is DISMISSED.


                                               Signed: November 12, 2006




       Case 2:99-cr-00122-MR         Document 340       Filed 11/13/06     Page 1 of 1
